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                    10
                                                      UNITED STATES DISTRICT COURT
                    11
                                                  NORTHERN DISTRICT OF CALIFORNIA
                    12
                                                             SAN FRANCISCO DIVISION
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                         WirelessWerx IP, LLC,                                Case No. 3:23-cv-06725
                    15
                                                Plaintiff,                    L.R. 6-1 STIPULATION TO EXTEND
                    16                                                        TIME FOR DEFENDANT TO
                                          vs.                                 ANSWER
                    17
                         Life360, Inc.,
                    18
                                                Defendant.
                    19

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                    21          Pursuant to L.R. 6-1(a), the parties hereby provide the Court notice of their written

                    22   stipulation extending the time for Defendant Life360, Inc. to answer or otherwise respond to the

                    23   Complaint (Dkt. 1) by sixty (60) days to March 25, 2024. This stipulation will not alter the date of

                    24   any event or any deadline already fixed by Court order.

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MORGAN, LEWIS &
                                                                                     L.R. 6-1 STIPULATION TO EXTEND TIME
 BOCKIUS LLP                                                                                   FOR DEFENDANT TO ANSWER
 ATTORNEYS AT LAW
     CHICAGO
                                                                                                              3:23-CV-06725
                           Case 3:23-cv-06725-PHK Document 11 Filed 01/25/24 Page 2 of 2



                     1   Dated: January 25, 2024                             Respectfully submitted by:

                     2
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                                                                                                              3:23-CV-06725
